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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

VON LESTER TAYLOR,
                                                      RULING & ORDER
              Petitioner,
                                                      Case No. 2:07-cv-00194-TC-DBP
   v.
                                                      District Judge Tena Campbell
SCOTT CROWTHER, Warden, Utah State
Prison,                                               Magistrate Judge Dustin B. Pead

            Respondent.


   I.      INTRODUCTION

   This matter was referred to the Court under 28 U.S.C. § 636(b)(1)(A). (ECF No. 274). The

matter is before the Court on Respondent’s “Motion for Scheduling Order” requesting the Court

enter a schedule for expert discovery. (ECF No. 327.) Petitioner opposes the motion. (ECF No.

329). Respondent filed a reply. (ECF No. 330). The Court did not hear oral argument.

   II.     ANALYSIS

    During an October 10, 2017, hearing, the undersigned instructed the parties to meet and

confer regarding a proposed pre-hearing schedule. (ECF No. 325). Judge Campbell reiterated the

Court’s instruction in a written order issued the following day. (ECF No. 324). Despite the

Court’s wishes, the parties have apparently been unable reach an agreement, and Petitioner did

not even provide any estimate for a proposed schedule. Because the Court concludes the parties

have not meaningfully complied with its instruction to meet and confer, the court will order the

parties to make renewed efforts to reach an agreement.

   The parties’ briefing indicates Respondent’s counsel sent a single email to Petitioner’s

counsel on October 25 proposing a schedule. Petitioner responded sometime thereafter with an
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email indicating the schedule was unworkable and asking to meet and confer “after an expert had

been hired.” (ECF No. 329). Petitioner states his “desire” is to obtain an expert ballistics report

by December 19, 2017. (Id.) The Court finds these efforts, from both parties, insufficient.

   First, the Court finds Petitioner’s refusal to meet and confer prior to December 19

unreasonable, particularly in the absence of any proffered reason for the delay. Petitioner’s pace

and cryptic tone do not comply with the Court’s order to meet and confer.

   Second, the Court finds Respondent’s effort to meet and confer inadequate. The Court can

conceive only of rare and extraordinary circumstances under which a single email to counsel

could serve as an adequate effort to meet and confer. The present circumstances do not justify

such an approach.

   Accordingly, the court will order the parties to again meet and confer. To eliminate

confusion, the Court orders this conference take place before November 17 and include at least

one teleconference, though the court encourages the parties to engage in additional

correspondence to narrow the issues for the telephone conference. Further, Petitioner must be

prepared to discuss any reason for the delay in hiring an expert and providing a report.

   III.    ORDER

   Based on the foregoing, the court DENIES Respondent’s “Motion for Scheduling Order”

without prejudice (ECF No.327). The parties are instructed to make renewed efforts to meet and

confer via telephone no later than November 17, 2017. Petitioner’s counsel must be prepared to

discuss his expected timeframe for hiring an expert and producing an expert report.

   Dated this 13th day of November 2017.                By the Court:




                                                        Dustin B. Pead
                                                        United States Magistrate Judge

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